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  8                       UNITED STATES DISTRICT COURT
  9                      CENTRAL DISTRICT OF CALIFORNIA
 10
        SOUND VIEW INNOVATIONS, LLC,           No. LACV17-04146 JAK (PLAx)
 11
 12                      Plaintiff,

 13                 v.                         FINAL JUDGMENT

 14     HULU, LLC,
 15                      Defendant.
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Case 2:17-cv-04146-JAK-PLA Document 924 Filed 04/30/21 Page 2 of 2 Page ID #:40350




  1 The Court hereby enters its Final Judgment as follows:
  2        1.     Claim 14 of U.S. Patent No. 5,806,062 is invalid under 35 U.S.C. § 101
  3 for lack of patentable subject matter.
  4        2.     Hulu does not infringe Claim 16 of U.S. Patent No. 6,708,213.
  5        3.     Count One of Sound View’s First Amended Complaint and Hulu’s First
  6 and Sixth Counterclaims are hereby dismissed as moot without prejudice to each party
  7 requesting to revive its claim or counterclaim(s) and defenses after appeal.
  8        4.     Because no claims remain in this action, the Clerk shall enter judgment in
  9 favor of Hulu.
 10
 11 IT IS SO ORDERED AND ADJUDGED.
 12
      Dated: April 30, 2021
 13                                          John A. Kronstadt
 14                                          United States District Judge

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